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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA
TALLAHASSEE DIVISION

TABITHA WHITE,

Plaintiff,
V. CASE NO.:4:17-CV-00059-MW/CAS
UNITED STATES OF AMERICA,

Defendant.

AMENDED MEDIATION REPORT

The parties to the above cause submitted their issues to mediation on February 13, 2018.
The undersigned mediator filed a Mediation Report stating the parties reached an impasse. Since
that time, the parties have reengaged in the mediation.

 

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing has been
furnished to Richard E. Johnson, Esquire At Law Offices of Richard E. Johnson, 314 West
Jefferson Street, Tallahassee, Florida 32301, and Winifred L. Acosta NeSmith, Esquire,
Assistant United States Attorney at Northern District of Florida, 111 North Adams Street, 4th
Floor, Tallahassee, FL 32301, by U. S. Mail, on this UU da f February, 2018.

  
 

 

J.@ O’STEEN, Attorney

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From Tue Law Offices OF
O’STEEN & O’STEEN, P.L.
2900 East PARK AVENUE
TALLAHASSEE, FLORIDA 32301

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